     Case 2:20-cv-03956-JAK-PVC Document 24 Filed 06/05/20 Page 1 of 26 Page ID #:147



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6      and David Lazar

7                             UNITED STATES DISTRICT COURT
8                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
9                                      WESTERN DIVISION
10      RUSSELL STUART, an individual                 Case No.: 2:20-cv-03956-JAK-PVC
11      (and derivatively on behalf of                Hon. Judge John A. Kronstadt
        SuperBox, Inc.); DOUGLAS
12
        MYRDAL, an individual (and                    NOTICE OF MOTION AND
13      derivatively on behalf of SuperBox,           MOTION TO DISMISS
        Inc.); and SUPERBOX HOLDINGS                  COMPLAINT PURSUANT TO
14
        CANADA INC., a British Columbia               FRCP 12(b)(5)
15      corporation (and derivatively on
        behalf of SuperBox, Inc.),                    Date: July 13, 2020
16                                                    Time: 8:30 AM
                                                      Place: First Street Courthouse,
17      Plaintiffs,                                          350 W. 1st Street, Courtroom 10B
                                                             Los Angeles, CA. 90012
18
             v.
19
        BARRY SYTNER, an individual;
20
        DAVID E. LAZAR, an individual;
21      CUSTODIAN VENTURES, LLC,
        a Wyoming limited liability company;
22
        EDWARD LAZAR, an individual;
23      SHULAMIT LAZAR, an individual;
        BETTY SYTNER, an individual;
24
        SUPERBOX, INC., a Nevada
25      corporation (and nominal defendant);
        and DOES 1-10, inclusive,
26

27      Defendant.
28


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                      NOTICE OF MOTION AND MOTION TO DISMISS PURSUANT TO FRCP 12(B)(5)
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1            TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
2            PLEASE TAKE NOTICE that on July 13, 2020 at 8:30 a.m., or as soon
3      thereafter as counsel may be heard in the courtroom of the Honorable Judge John A.
4      Kronstadt of the above-entitled Court, located at First Street Courthouse, 350 W. 1st
5      Street, Courtroom 10B, Los Angeles, CA. 90012, Defendants Custodian Ventures,
6      LLC and David Lazar will and hereby do move for an order dismissing the Complaint
7      against them in accordance with Federal Rules of Civil Procedure 12(b)(1) and
8      12(b)(6).
9            This motion is based on the accompanying Memorandum of Points and
10     Authorities, and any and all pleadings and records on file with the Court, the argument
11     of counsel, and such further and other matters as may be presented to the Court. This
12     Motion is made following the conference of counsel pursuant to L.R. 7-3 which took
13     place on May 27, 2020 and in further communication and correspondence with
14     Plaintiff’s counsel.
15     Dated: June 5, 2020               HOWARD & HOWARD ATTORNEYS PLLC
16
                                         /s/ Ryan A. Ellis_____________________
17                                       Ryan A Ellis, Esq.
18                                       Attorneys for Defendants Custodian
                                         Ventures, LLC and David Lazar
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1       I.    INTRODUCTION
2             In their Complaint, Plaintiff confusingly bring both individual and derivative
3       claims on behalf of Superbox, Inc. (“SBOX”) against various Defendants, including
4       Defendants Custodian Ventures, LLC (“Custodian Ventures”) and David Lazar
5       (“Lazar” or referred to collectively with Custodian Ventured herein as
6       “Defendants”).
7             From what the Defendants can glean from Plaintiffs’ verified Complaint,
8       Plaintiffs are alleging that they suffered damage from misrepresentations and/or
9       omissions made by Defendants. The single and fatal blow to Plaintiffs’ argument is
10      that the timeline of events, on its face and as verified by Plaintiffs’ in their
11      Complaint, necessarily undermines any of its purported claims. Amongst other facts,
12      Plaintiffs allege they were negotiating a deal between themselves, had been doing so
13      for approximately six months, and those negotiations came to a close in February
14      2020. See Plaintiffs’ verified Complaint (hereinafter referred to as the “Complaint”)
15      at ¶¶23, 24. Interestingly, Plaintiffs then allege they were forced to change their
16      position when they relied on statements and omissions made by Defendants in April
17      2020, two months after negotiations ended. Complaint, ¶44. Another twist to the
18      story is that Plaintiffs allege Defendant Custodian Ventures has been wrongfully
19      appointed custodian of SBOX in the State of Nevada, despite admitting Defendants
20      were acting under a court order from the same state. S confusing as it may be,
21      Plaintiffs fail to meet the very strict pleading requirements of the Private Securities
22      Litigation Reform Act of 1995 (“PSLRA”), as well as fail to explain the large void
23      between any nexus between their negotiations and their losses.
24            Under any analysis, there is neither logic nor a nexus which supports any of
25      Plaintiffs’ claims. As a result, and as argued herein, Plaintiffs’ Complaint should be
26      dismissed in its entirety.
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28      ///
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                       MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION TO DISMISS
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1       II.    LEGAL STANDARD
2              Federal Rule 12(b)(1) provides that a complaint may be dismissed for lack of
3       subject matter jurisdiction. Because ripeness “pertain[s] to federal courts’ subject
4       matter jurisdiction,” it is “properly raised in a Rule 12(b)(1) motion to dismiss.”
5       Chandler v. State Farm Mut. Auto Ins. Co. (2010) 598 F.3d 1115, 1122. Where, as
6       here, Defendants asserts a facial attack on federal jurisdiction, the court resolves the
7       motion as it would a motion under Rule 12(b)(6). Leite v. Crane Co. (2014) 749
8       F.3d 1117, 1121.
9              Similarly, and under Federal Rule 12(b)(6), “a complaint must contain
10      sufficient factual matter, accepted as true, ‘to state a claim to relief that is plausible
11      on its face.’” Ashcroft v. Iqbal (2009) 556 U.S. 662, 678 (citation omitted). Well-
12      pleaded facts are accepted as true, but this does not apply to legal conclusions or
13      “conclusory, unwarranted deductions of fact, or unreasonable inferences.” Daniels-
14      Hall v. Nat’l Educ. Ass’n (2010) 629 F.3d 992, 998; Iqbal, 556 U.S. at 678.
15             As explained herein, not only do the basic pleading requirements apply to
16      most of Plaintiffs’ causes of action, but also heightened and particularity standards
17      required by Rule 9(b) and the PSLRA.
18      III.   ARGUMENT
19
               1.    THE COURT LACKS JURISDICTION OVER PLAINTIFFS’
20                   CAUSES OF ACTION AS THEY ARE NOT RIPE
21
               Plaintiff asserts claims for violation of Section 10(b) of the Exchange Act and
22
        SEC rule 10b-5. See Complaint, p. 13. The remainder of Plaintiffs’ claims are
23
        creatively pled, state-law iterations of their SEC claim. All of these claims are
24
        subject to dismissal now because they are not and may never become ripe. “If a
25
        claim is unripe, federal courts lack subject matter jurisdiction and the complaint
26
        must be dismissed.” S. Pac. Transp. Co. v. City of L.A. (1990) 922 F.2d 498, 502
27
        (9th Cir. 1990) (affirming judgment dismissing unripe federal claims for lack of
28

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1       jurisdiction); see In re BofI Holding S'holder Litig., Case No. 3:15-cv-02722-GPC-
2       KSC, 2018 U.S. Dist. LEXIS 96155, at *9 (S.D. Cal. June 7, 2018) (dismissing
3       derivative claims “premised on the outcome of separate litigation” due to the
4       “threshold jurisdictional issue” of ripeness).
5             All of Plaintiffs’ purported damages stem from Custodian Ventures’
6       application for custodianship of SBOX in the State of Nevada, along with Mr.
7       Lazar’s participation in the same. At the time this Motion is respectfully submitted,
8       the Nevada Action is pending with the Nevada Court. Therefore any and all
9       remedy(ies) which may be available to Plaintiffs’ as pled in this Court are not yet
10      ripe. This argument applies even if some damages have been incurred. Id. Further,
11      and since the Nevada Action is still pending, Plaintiffs have the ability to participate
12      in that action and seek redress (in various forms) from that Court. Instead, Plaintiffs
13      have chosen to turn a blind eye to the Nevada Action and not participate, while
14      directing their attention to this Court while the Nevada Action proceeds without
15      them – even though Plaintiffs’ verified Complaint admits they are on notice of the
16      pending Nevada Action. Since the Nevada Action is still pending, Plaintiffs’ claims
17      in this Court are not yet ripe, and should be dismissed in their entirety.
18            2.     PLAINTIFFS’ INDIVIDUAL CLAIMS MUST BE DISMISSED
19                   UNDER RULE 12(b)(6) FOR FAILURE TO STATE A CLAIM
                     UNDER ANY THEORY
20

21            A.     PLAINTIFF’S SECURITIES ACT CLAIMS MUST BE DISMISSED
                     FOR FAILURE TO COMPLY WITH THE APPLICABLE
22                   HEIGHTENED PLEADING REQUIREMENTS OF 10(b) AND THE
23                   PSLRA

24            To bring a claim under § 10(b) of the Exchange Act, a plaintiff must allege:
25      “(1) a material misrepresentation (or omission); (2) scienter, i.e., a wrongful state of
26      mind; (3) a connection with the purchase or sale of a security; (4) reliance, often
27      referred to in cases involving public securities markets (fraud-on-the-market cases)
28      as ‘transaction causation,’; (5) economic loss; and (6) ‘loss causation,’ i.e., a causal
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1       connection between the material misrepresentation and the loss. See Dura Pharms.,
2       Inc. v. Broudo (2005) 544 U.S. 336, 341-42 [internal citations omitted]; Metzler Inv.
3       GMBH v. Corinthian Colls., Inc. (2008) 540 F.3d 1049, 1061.
4             It is clear from the caption of the Complaint that Plaintiffs are attempting to
5       bring a section 10(b) claim. As such, the complaint must comply with the PSLRA.
6       The PSLRA enacted heightened pleading standards on federal securities fraud
7       actions. See 15 U.S.C. § 78u-4(b)(1)-(2). "The PSLRA significantly altered pleading
8       requirements in private securities fraud litigation by requiring that a complaint plead
9       with particularity both falsity and scienter." In re Vantive Corp. Sec. Litig. (2002)
10      283 F.3d 1079, 1084, abrogated on other grounds as recognized in S. Ferry LP, No.
11      2 v. Killinger (2008) 542 F.3d 776, 784. "The purpose of this heightened pleading
12      requirement was generally to eliminate abusive securities litigation and particularly
13      to put an end to the practice of pleading fraud by hindsight." See In re Vantive, 283
14      F.3d at 1084-85 (quoting In re Silicon Graphics Sec. Inc. Litig. (1999) 183 F.3d 970,
15      973. To meet the exacting standards of the PSLRA, a plaintiff must "specify each
16      statement alleged to have been misleading," and "the reason or reasons why the
17      statement is misleading." Id. at 1085 [internal citations omitted].
18            Plaintiffs do not plead any of the purported misrepresentations with any
19      specificity whatsoever. The entirety of misrepresentations and omissions Plaintiffs
20      claim are three-fold: (1) in a certificate of service filed in the Nevada Action
21      (Complaint, para. 26); (2) Plaintiff Stuart did not receive any notice of the Nevada
22      Action (Complaint, paras. 28, 33); and (3) on information and belief Plaintiffs allege
23      Defendant “deliberately failed to effectuate valid service.” Complaint, para. 38.
24      These allegations are again recited in the body of Plaintiffs’ first cause of action, but
25      each is prepended with the phrase “upon information and belief.” No further,
26      specific information is provided. “[I]f an allegation regarding the statement or
27      omission is made on information and belief, the complaint shall state with
28      particularity all facts on which that belief is formed." In re WageWorks, Inc., Sec.
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1       Litig., Case No.: 18-cv-01523-JSW, 2020 U.S. Dist. LEXIS 97180, *10 (ND. Cal.
2       June 1, 2020).
3             Plaintiffs have not, and cannot, meet the strict and heightened pleading
4       requirements of the PSLRA, and as a result their Complaint should be dismissed.
5             B.     PLAINTIFF FAILS TO ALLEGE ANY MISREPRESENTATIONS
6                    TO SUPPORT A 10(b) CLAIM
7             A statement or omission is misleading if it "affirmatively create[s] an
8       impression of a state of affairs that differs in a material way from one that actually
9       exists." Brody     v.   Transitional   Hosps.    Corp.    (2002)     280    F.3d    997,
10      1006; accord Reese v. Malone (2014) 747 F.3d 557, 569-70. An omitted fact is
11      material if "a reasonable investor might have considered [it] important in the making
12      of [a] decision." Affiliated Ute Citizens v. United States (1972) 406 U.S. 128, 153-
13      54. This standard is met where "the disclosure of the omitted fact would have been
14      viewed by [a] reasonable investor as having significantly altered the 'total mix' of
15      information made available" to him at the time of the investment. McCormick v.
16      Fund Am. Cos., Inc. (1994) 26 F.3d 869, 876 (citing Basic v. Levinson (1988) 485
17      U.S. 224, 231-32.
18            Plaintiffs timeline of events does not reconcile with their allegation that they
19      relied on any of Defendants’ representations or omissions. First and foremost,
20      Plaintiffs allege that Defendants did not make any statements to any of them
21      individually, but instead these “misstatements” were contained in filings with the
22      court in the Nevada Action. See Complaint, para. 43. Further, the Plaintiffs’
23      allegations are all in hindsight, on all fours with the holding in In re Vanitive, supra.
24      Specifically, Plaintiffs Stuart and SB Canada allege they “completed negotiations in
25      February 2020 (see Complaint, para. 24) and as a result “changed its [sic] position
26      and offered to sell their [SBOX] shares at a discount…” See Complaint, para. 44.
27      These allegations fly directly in the face of Plaintiffs’ discussion as to when they
28      first became aware of Defendants, wherein they allege “STUART first learned about
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1       the Custodian Case and the purported custodianship over SuperBox on or about
2       April 9, 2020.” Complaint, para. 33. In their verified Complaint, Plaintiffs allege
3       under the penalty of perjury that they relied on purported misrepresentations and
4       omissions for a six month period ending in February 2020, which the Plaintiffs did
5       not learn until April 9, 2020 at the earliest. There is no conceivable way that
6       Plaintiffs relied on Defendants actions and/or inactions in February when they did
7       not know about them until April
8             One cannot rely on statements made in the future. As a result, there is no way
9       that Plaintiffs can allege any statements or omissions upon which they relied, and
10      therefore Plaintiffs’ Complaint should be dismissed.
11            C.     PLAINTIFFS’ COMPLAINT FAILS TO ALLEGE                              LOSS
12                   CAUSATION WITH THE REQUIRED SPECIFICITY

13            Plaintiffs fail to do so here. Private securities fraud actions are designed “not
14      to provide investors with broad insurance against market losses, but to protect them
15      against the economic losses that misrepresentations actually cause.” See Dura,
16      supra, 544 U.S. 336 at 345. To meet its pleading burden, Plaintiffs must allege that
17      “the defendant’s misstatement, as opposed to some other fact, foreseeably caused
18      [their] loss.” Mineworkers’ Pension Scheme v. First Solar Inc. (2018) 881 F.3d 750,
19      754 (citing Lloyd v. CVB Fin. Corp. (2016) 811 F.3d 1200, 1210. “This inquiry
20      requires no more than the familiar test for proximate cause. To prove loss causation,
21      plaintiffs need only show a ‘causal connection’ between the fraud and the loss, by
22      tracing the loss back to ‘the very facts about which the defendant lied.”
23      Mineworkers' Pension Scheme v. First Solar Inc., supra, 881 F.3d 750 at 753.
24            Plaintiffs’ also fail to allege loss causation with the required plausibility and
25      particularity as required by Rule 9(b). Oregon Pub. Emples. Ret. Fund v. Apollo
26      Group Inc. 2014) 774 F.3d 598, 605. The Complaint alleges, again in wholly
27      conclusory fashion, “[f]urthermore, Defendants’ misrepresentations and deceptive
28      concealment of material information, along with Plaintiff’s reasonable reliance
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1       thereon, proximately caused and/or induced Plaintiff to engage in the above-
2       referenced securities transactions which resulted in Plaintiff’s economic losses and
3       other damages.” Plaintiffs cannot plead a causal connection between any of
4       Defendants’ actions and their losses because they did not learn of Defendants’
5       purported misstatements until months after Plaintiffs concluded negotiations. See
6       Section B, infra. Since no causal link exists, there can be no loss causation.
7             Plaintiffs make no effort to allege the actual damages alleged, yet again
8       alleging their loss in vague terms and conclusory estimates: “Plaintiff estimates the
9       total damages … include, but are not limited to…approximately $300,000.00,
10      together with interest and associated transaction costs.” See Complaint, ¶49.
11      Plaintiffs also do not allege any impact to the SBOX stock price. The most direct
12      way to show loss causation is to show that the company’s stock price dropped
13      following disclosure of the “relevant truth” (i.e., facts concealed by the alleged
14      misstatements) (See Dura, 544 U.S. at 342 at 347; Lloyd, 811 F.3d at 1209) or that
15      “but for the circumstances that the fraud concealed . . . plaintiffs’ investment . . .
16      would not have lost its value.” Berson v. Applied Signal Tech., Inc. (2008) 527 F.3d
17      982, 989 [citations omitted].
18            Plaintiffs do not allege loss causation at all, let alone to the heightened
19      pleading requirements necessary to withstand Defendants’ Motion. The instant
20      Motion should be granted.
21            D.     PLAINTIFFS’ COMPLAINT FAILS TO ALLEGE ANY FALSITY
22                   WITH SPECIFICITY AS REQUIRED BY THE PSLRA, AND
                     SHOULD BE DISMISSED
23

24            In addition to the other elements of its securities claim, the PSLRA requires

25      Plaintiffs to plead falsity with particularity. Zucco Partners, LLC v. Digimarc Corp.

26      (2009) 552 F.3d 981, 991. “The PSLRA has exacting requirements for pleading

27      'falsity.'" Metzler Inv. GMBH v. Corinthian Colleges, Inc. (2008) 540 F.3d 1049,

28      1070. To satisfy these "exacting requirements," a plaintiff must plead "specific facts
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1       indicating why" the statements at issue were false. Id.; see also Ronconi v. Larkin
2       (2001) 253 F.3d 423, 434 ("Plaintiffs' complaint was required to allege specific facts
3       that show" how statements were false). More importantly, and be actionable, a
4       statement must be false "at [the] time by the people who made them." Larkin, supra,
5       253 F.3d at 430.
6                First, Defendants assert that the Complaint lacks any allegations of falsity as
7       required. Secondarily, any allegation which could be in any way construed to state
8       “falsity” lack the requisite specificity, reliability, and personal knowledge of the
9       Plaintiffs. Defendants’ argument on this point is strengthened in that Plaintiffs seem
10      to make their salient allegations on “information and belief.” Plaintiffs cannot
11      properly allege the element of falsity when Plaintiffs themselves are not even sure
12      what Defendants have (or haven’t) done.
13               E.     PLAINTIFFS’ COMPLAINT FAILS TO ALLEGE SCIENTER WITH
14                      SPECIFICITY AS REQUIRED BY THE PSLRA, AND SHOULD BE
                        DISMISSED
15

16               The PSLRA requires allegations supporting a “strong inference” that each

17      defendant made false or misleading statements “either intentionally or with

18      deliberate recklessness.” Zucco, 552 F.3d at 991. Deliberate recklessness must

19      “reflect[] some degree of intentional or conscious misconduct,” (see Killinger,

20      supra,        542 F.3d 776 at 782) and requires a state of mind beyond “mere

21      recklessness” that shows “an extreme departure from the standards of ordinary care.”

22      City of Dearborn Heights Act 345 Police & Fire Ret. Sys. v. Align Tech., Inc. (2016)

23      856 F.3d 605, 619–20. “[T]he complaint must contain allegations of specific

24      ‘contemporaneous statements or conditions’ that demonstrate the intentional or the

25      deliberately reckless false or misleading nature of the statements when made.”

26      Ronconi, 253 F.3d 423 at 432

27               Further, the scienter analysis “is inherently comparative.” Tellabs, Inc. v.

28      Makor Issues & Rights, Ltd. (2007) 551 U.S. 308, 323. A court must take into
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1       account “plausible, nonculpable explanations for the defendant’s conduct” (Id. at
2       310) and a complaint can only survive “if the malicious inference is at least as
3       compelling as any opposing innocent inference.” Zucco, 552 F.3d at 991. Here,
4       Plaintiffs state they did not receive service of process (Complaint, ¶28) and that they
5       are again “informed and believe” that Defendants did not give proper notice in order
6       to takeover SBOX. See Complaint, ¶43.
7             Plaintiffs’ barebones allegations lack reliability because Plaintiffs have not
8       provided any insight into any actual representations (or inaction) they relied upon.
9       See Section (2)(B) above. Plaintiffs also allege that Defendants did in fact provide
10      notice to them and/or the notice provided by Defendants may have been missed
11      because Plaintiffs did not go into the office during the COVID stay-at-home orders.
12      See Complaint, ¶¶29, 30, 33. Therefore, and to the extent Plaintiffs’ allegations of
13      scienter are based on Defendants’ after-the-fact actions, more information must be
14      pled to clarify this contradiction whereby Plaintiffs’ believe notice was not provided,
15      but in the next breath allege notice was in fact provided.
16            F. PLAINTIFFS’ COMPLAINT FAILS TO ALLEGE ANY FACTS
17               WHATSOEVER RELATING TO ANY SPECIFIC DEFENDANT

18            Plaintiffs allege, on information and belief, that all Defendants acted in
19      concert and agreed to conspire to “act” as alleged in the Complaint. Complaint, ¶20.
20      As argued above, their conspiracy allegations are wholly conclusory and thus
21      defective. See Mindlab Media, LLC. v. WRC Int’l LLC (2012) Case No. CV 11-3405
22      CAS FEMX, 2012 WL 386695, at *4 (C.D. Cal. Feb. 6, 2012). In Mindlab, Judge
23      Snyder rejected Plaintiffs allegation that all defendants were acting “with the actual
24      and/or implied knowledge, permission, consent, ratification and approval of the
25      other Defendants. Plaintiffs’ Complaint herein suffers from the same issues. Instead
26      of alleging specific facts, Plaintiff patently concocts a scheme with absolutely no
27      knowledge that any Defendants other than Custodian Ventures or Lazar had any
28      involvement in the purported actions/inactions pled. Such artful and intentional
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1       wrongful pleading subjects Plaintiffs’ entire Complaint to dismissal. See Bell v.
2       Hood (1946) 327 U.S. 678, 682-83 (suit may be dismissed where the Court finds a
3       claim wholly insubstantial and frivolous”). Under these circumstances, and without
4       any specific allegations relating to any Defendant, Plaintiffs’ Complaint should be
5       dismissed in its entirety.
6             G.     PLAINTIFFS’ CLAIMS FOR COMMON LAW FRAUD AND
7                    NEGLIGENT MISREPRESENTATION SHOULD BE DISMISSED
                     FOR FAILURE TO PLEAD WITH REQUISITE SPECIFICITY AND
8                    FOR FAILURE TO ALLEGE PROPER RELIANCE
9
              Plaintiffs’ claims for fraud and negligent misrepresentation fail for the same
10
        reasons as their 10(b) and Rule 10b-5 claim. Under California law, the elements of a
11
        cause of action for fraudulent misrepresentation are: "(1) the defendant represented
12
        to the plaintiff that an important fact was true; (2) that representation was false; (3)
13
        the defendant knew that the representation was false; (4) the defendant intended the
14
        plaintiff to rely on the representation; (5) the plaintiff reasonably relied on the
15
        representation; (6) the plaintiff was harmed; and (7) the plaintiff's reliance on the
16
        defendant's representation was a substantial factor in causing that harm to the
17
        plaintiff." Graham v. Bank of America (2014) 226 Cal.App.4th 594, 605-606. The
18
        elements for negligent misrepresentation are nearly identical to that of fraud, only
19
        the third element is different, requiring the absence of reasonable grounds for
20
        believing the misrepresentation to be true instead of knowledge of its falsity. Daniels
21
        v. Select Portfolio Servicing, Inc. (2016) 246 Cal.App.4th 1150, 1166. Like Rule
22
        10b-5 claims, "[c]auses of action for intentional and negligent misrepresentation
23
        sound in fraud..., [so] each element must be pleaded with specificity." Id. at 1166.
24
              Here, Plaintiffs fail to allege that Defendants made any specific
25
        misrepresentations or plead any other element of the fraud claims with the requisite
26
        specificity. Plaintiffs’ conclusory allegations are not enough. "[G]eneral and
27
        conclusory allegations do not suffice." Lazar v. Superior Court (1996) 12 Cal.4th
28

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1       631, 645. As argued above and herein, Plaintiff fails to meet the heightened pleading
2       standards, necessitating dismissal of the Complaint in this action.
3             H.     PLAINTIFFS FAIL TO PLEAD SECTION 25401 AND 25501
4                    CLAIMS

5             Sections 25401 and 25501 narrowly apply only to persons who actually sold
6       stock to plaintiff. Said more eloquently, strict privity is required. In this case,
7       Plaintiffs do not allege any sale occurred between any of them individually and any
8       of the Defendants. In fact, the opposite is true – Plaintiffs’ were damaged due to the
9       alleged loss of value of a transaction between themselves. See Complaint, ¶44.
10      Plaintiffs further confirm this cause of action should be dismissed by alleging they
11      did not even know of the Defendants in any capacity until April 2020. Complaint,
12      ¶33. See Apollo Capital Fund, LLC v. Roth Capital Partners, LLC (2007) 158 Cal.
13      App. 4th 226, 252-54 (2007). Such a position is untenable and requires dismissal of
14      this cause of action.
15            I.     PLAINTIFFS’ CLAIMS FOR VIOLATION OF CALIFORNIA
16                   BUSINESS & PROFESSIONS CODE MUST ALSO BE DISMISSED

17            Although Plaintiffs purport to assert a claim for unfair business practices
18      under the California Business and Professions Code, Section 17200, et seq. they are
19      not permitted to bring a private claim based on the purchase of securities. Betz v.
20      Trainer Wortham & Co. (2011) 829 F. Supp. 2d 860, 866-67. To state a valid claim
21      under Bus. & Prof. Code § 17200 ("UCL"), the Plaintiff must allege a violation of
22      any independent statute, regulation or law and that Defendants' conduct was
23      unlawful, fraudulent or unfair to consumers. As argued above, and since Plaintiffs’
24      UCL claim is based on their claims for securities fraud their UCL claim also fails.
25      See Krantz v. BT Visual Images, LLC (2001) 89 Cal.App.4th 164, 178 (2001). As a
26      result, the Complaint fails to state any viable claim under the UCL and the cause of
27      action should be dismissed.
28

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1             J.     PLAINTIFFS’ UNJUST ENRICHMENT CLAIM MUST FAIL AS
2                    PLED AND DIRECTLY CONTRADICTS THE

3             There is no cause of action in California for unjust enrichment, as it describes
4       a remedy only. Melchior v. New Line Productions, Inc., (2003) 106 Cal.App.4th
5       779, 793. For this reason alone, Plaintiff’s “claim” must fail. Further, “an unjust
6       enrichment claim does not lie where the parties have an enforceable express
7       contract." Durell v. Sharp Healthcare, (2010) 183 Cal. App. 4th 1350, 1370, 108
8       Cal. Rptr. 3d 682. Unjust enrichment must be plead along with a quasi-contract
9       cause of action, such as alleging that the contract was void or rescinded. Id. at
10      1370. A plaintiff may assert alternative theories, even if those theories appear
11      inconsistent. Klevin v. Chevron U.S.A., Inc. (2012) 202 Cal. App. 4th 1342, 1388.
12            It is undisputed that SBOX is governed by an operating agreement, a contract
13      by which all members are to abide. Without the operating agreement, there is no
14      connection in any regard, contract or otherwise, between Plaintiffs and Defendants
15      herein. Therefore, an action cannot lie in any quasi-contract theory. As such,
16      Plaintiffs’ request for recovery under a theory of unjust enrichment should be
17      dismissed.
18            3.     PLAINTIFFS’ DERIVITAVE CLAIMS MUST ALSO FAIL
19                   UNDER 12(b)(5)

20            A.     PLAINTIFFS DO NOT AND CANNOT ALLEGE A CAUSE OF
21                   ACTION FOR BREACH OF FIDUCIARY DUTY

22            “The elements of a cause of action for breach of fiduciary duty are: (1) the
23      existence of a fiduciary duty; (2) the breach of that duty; and (3) damage
24      proximately caused by that breach.” Mosier v. S. Cal. Physicians Ins. Exch. (1998)
25      63 Cal. App. 4th 1022, 1044. For a fiduciary duty to exist, a person “must either
26      knowingly undertake to act on behalf and for the benefit of another, or must enter
27      into a relationship which imposes that undertaking as a matter of law.” City of Hope
28      Nat’l Med. Ctr. v. Genentech, Inc. (2008) 43 Cal. 4th 375, 386.
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1             As argued, infra, Defendant Custodian Ventures has assumed its role as
2       custodian of SBOX pursuant to court order in the Nevada Action. Under the
3       business judgment rule, there is a presumption that in making a business decision the
4       directors of a corporation acted on an informed basis, in good faith and in the honest
5       belief that the action taken was in the best interest of the company.
6             Not only have the Plaintiffs failed to allege Defendants breached or violated
7       the aforementioned court order, they also have failed to allege why they continue to
8       sit on their hands as the Nevada Action proceeds, willfully ignoring the same.
9       Similarly to the arguments above, Plaintiffs fail to allege a proper nexus whereby
10      any of Defendants’ actions could gave plausibly been relied upon by Plaintiffs. As
11      repeated throughout this Motion, Plaintiffs cannot allege they relied on any of the
12      Defendants’ actions or inactions when they were not aware of the same until after
13      the fact. See Section 2(C), supra. Since no breach is alleged (or occurred), Plaintiffs’
14      claim for breach of fiduciary duty must be dismissed.
15            B.     PLAINTIFFS’ CLAIMS FOR ABUSE OF CONTROL AND UNJUST
16                   ENRICHMENT ARE DUPLICATIVE OF THEIR FIDUCIARY
                     DUTY CLAIM
17

18            Plaintiffs' remaining “derivative” causes of action are duplicative of their

19      10(b)/10b-5 and fiduciary duty claims, and do not independently give rise to a claim

20      for liability. Claims for abuse of control are likewise "often considered a

21      repackaging of claims for breach of fiduciary duties instead of being a separate tort."

22      In re Zoran Corp. Deriv. Litig. (2007) 511 F. Supp. 2d 986, 1019. For the same

23      reasons as argued at length throughout this Motion, Plaintiffs claims for abuse of

24      control and unjust enrichment must fail.

25      ///

26      ///

27      ///

28      ///
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1             4.     PLAINTIFFS’ CANNOT CURE THE DEFECTS ON THE
2                    COMPLAINT AND THE COURT SHOULD NOT GRANT
                     LEAVE TO AMEND
3

4             Under Rule 15(a) of the Federal Rules of Civil Procedure, leave to amend

5
        "shall be freely granted when justice so requires," bearing in mind "the underlying

6
        purpose of Rule 15 to facilitate decision on the merits, rather than on the pleadings or
        technicalities." Lopez v. Smith, 203 F.3d 1122, 1127 (9th Cir. 2000) (en banc)
7
        (internal quotation marks and alterations omitted). Generally, leave to amend shall be
8
        denied only if allowing amendment would unduly prejudice the opposing party, cause
9
        undue delay, or be futile, or if the moving party has acted in bad faith. Leadsinger,
10
        Inc. v. BMG Music Publ'g, 512 F.3d 522, 532 (9th Cir. 2008).
11
        IV.   CONCLUSION
12
              For all of the reasons stated herein, Plaintiff’s Complaint should be dismissed
13
        without leave to amend.
14

15      Respectfully submitted,
16
        Dated: June 5, 2020               HOWARD & HOWARD ATTORNEYS PLLC
17

18
                                          /s/ Ryan A. Ellis_____________________
                                          Ryan A Ellis, Esq.
19                                        Attorneys for Defendants Custodian
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                                          Ventures, LLC and David Lazar

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                      MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION TO DISMISS
